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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                       Defendant .

  MOTION TO COMPEL PRODUCTION OF UNDISCLOSED MATERIALS

       On February 12, 2021, the government arrested me. Today, more than three and a half

years after my arrest, the government produced a copy of my PayPal transactions as discovery.

When I requested a copy of the warrant for my PayPal records, AUSA Benet Kearney responded

that the “records were not obtained pursuant to a warrant.” I have requested clarification on how

and when the records were obtained by the government, and I am still waiting for a response.

       This alarmingly late discovery production falls after the Court’s deadline for pretrial

motions and motions in limine, depriving me of potential defenses. It also raises the question of

whether the government possesses other data derived from and belonging to me that has not yet

been produced. The Federal Rules of Criminal Procedure 16(a)(1)(E)(iii) requires the

government to promptly produce any data that was “obtained from or belongs to the defendant.”

When the government fails to comply with that requirement, the Court may order a party to

permit the discovery and inspection of such data and grant a continuance; 16(d)(2)(A, B, & C).

       Pursuant this rule, I am moving for the Court to compel the government to produce to me,

the Defendant, all remaining documents and data within the government’s possession, custody,

or control, that were obtained from or belong to me, the Defendant, including any of my
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electronic account data and financial records obtained by the government through a warrant,

subpoena, or other means (including any documents and data obtained by illegal means) that the

government has not yet produced to me. I am also moving the Court to compel the government

to specify how and when any such documents and data were obtained. Furthermore, I am moving

the Court to grant me time to review any such documents and data that are produced and allow

me to file any related pretrial motions and motions in limine if they are needed.

       I regret that this motion has to be filed with the Court at this stage of proceedings, but

unfortunately the government has not been voluntarily meeting their production obligations.

       Respectfully submitted to the Court,

                                                      By: William Pope

                                                          /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                         Certificate of Service
    I certify a copy of this was filed electronically for all parties of record on August 7, 2024.
                                                   /s/
                                  William Alexander Pope, Pro Se
